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                                                                                             U.S DtS'/JJCT COURT
                                        United States District Court
                                                   FOR THE                                  2IIUUL 13 PM |:38
                                    SOUTHERN DISTRICT OF GEORGIA
                                             AUGUSTA DIVISION                            ELEfiK-_CAci?rt.. ^
                                                                                              SuToisTgrGAT—

          UNITED STATES OF AMERICA


                           V.                                 Crim.No.       1:12CR00129-3


                     Asia M. Lewis



       On May 30, 2014, the above named was placed on supervised release for a period of three years. She
has complied with the rules and regulations of probation and is no longer in need of supervision. It is
accordingly recommended that she be discharged from supervision.

                                                            Respectfully submitted,




                                                            Christopher A. Doughtie, Sr.
                                                            Supervisory United States Probation Officer


                                          ORDER OF THE COURT


       Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

       Dated this       "^ay ofJuly, 2016.


                                                             J. Randd Hall
                                                             United States District Judge
